       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN



                                     NO. 03-23-00114-CR



                              Francisco Esquivel, III, Appellant

                                               v.

                                 The State of Texas, Appellee


               FROM THE 207TH DISTRICT COURT OF COMAL COUNTY
          NO. CR2019-226, THE HONORABLE DIB WALDRIP, JUDGE PRESIDING



                           MEMORANDUM OPINION


              Francisco Esquivel, III, was charged with the offense of bail jumping and failure

to appear. See Tex. Penal Code § 38.10. The indictment included four enhancement paragraphs

alleging that Esquivel had previously been convicted of the following four felony offenses: one

count of unlawful possession of a firearm by a felon, two counts of possession of a controlled

substance, and one count of possession of a controlled substance with intent to deliver. See Tex.

Health &amp; Safety Code §§ 481.112, .115, Tex. Penal Code § 46.04. Following a jury trial on

guilt-innocence, the jury found Esquivel guilty.     During the punishment hearing, Esquivel

pleaded true to the four enhancement allegations, and the trial court sentenced him to 50 years’

imprisonment. See Tex. Penal Code § 12.42. Esquivel appealed his conviction.

              Esquivel’s court-appointed attorney on appeal filed a motion to withdraw

supported by an Anders brief contending that the appeal is frivolous and without merit. See
Anders v. California, 386 U.S. 738, 744-45 (1967). Esquivel’s court-appointed attorney’s brief

concluding that the appeal is frivolous and without merit meets the requirements of Anders by

presenting a professional evaluation of the record and demonstrating that there are no arguable

grounds to be advanced. See id.; Garner v. State, 300 S.W.3d 763, 766 (Tex. Crim. App. 2009);

see also Penson v. Ohio, 488 U.S. 75, 81-82 (1988) (explaining that Anders briefs serve purpose

of “assisting the court in determining both that counsel in fact conducted the required detailed

review of the case and that the appeal is . . . frivolous”). Esquivel’s counsel represented to the

Court that he provided copies of the motion and brief to Esquivel; advised Esquivel of his right

to examine the appellate record, file a pro se brief, and pursue discretionary review following the

resolution of the appeal in this Court; and provided Esquivel with a form motion for pro se

access to the appellate record along with the mailing address of this Court. See Kelly v. State,

436 S.W.3d 313, 319-20 (Tex. Crim. App. 2014).             Esquivel has not filed a pro se brief

challenging his conviction, and the deadline for filing a pro se brief has expired.

               We have independently reviewed the record and considered appellate counsel’s

brief, and we have found nothing that might arguably support the appeal. See Anders, 386 U.S.

at 744; Garner, 300 S.W.3d at 766. We agree with counsel that the appeal is frivolous and

without merit. We grant counsel’s motion to withdraw and affirm the trial court’s judgments of

conviction.




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                                           __________________________________________
                                           Edward Smith, Justice

Before Justices Baker, Triana, and Smith

Affirmed

Filed: August 27, 2024

Do Not Publish




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